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                           ERRATA SHEET FOR THE TRANSCRIPT OF:

Case Name:     In Re: Google Antitrust litigation

Dep. Date:     July 22, 2021

Deponent:
                                           CORRECTIONS:

Page Line           Changes or Corrections and Reasons

7:7                 “Alex” should be added in front of Bergersen (Transcription Error)

97:20               “One” should read “won” (Transcription Error)

118:20              “Strike” should read “strict” (Transcription Error)

141:15              “And” should be added in between “controls” and “other” (Transcription Error)

178:19              “Be” should be “It’s” (Transcription Error)




I have inspected and read my deposition and have listed all changes and corrections above, along with my
reasons therefor.




      August 19, 2021
Date: ________________________________              Signature: _                             _________
